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lN THE UNITED STATES DISTRICT COURT m BY -~~-»-' °'°-

FOR THE WESTERN DISTRICT OF TENNESSEE

 

Defendant(s)

WESTERN DIVISION 95 AUG '8 PH 3’ l'*
) HKYWSM.URLD
) G£H£§§§E¥HQTUJ§W
UNITED sTATEs oF AMERICA ) WBL§G¢MBYHS
)
Plaintiff, )
)
vs ) cR. No. 04-20134-M1
}
JOHN KNox )
)
)
)

 

ORDER ON CONTINUANCE A.ND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for Trial on August 3, 2005 at 9:30 a.m. Counsel
for the defendant requested a continuance of the present setting. The
continuance is necessary to allow for additional preparation in the case.

The Court granted the request and continued the matter for Trial to
Tuesday, August 23, 2005 at 9:30 a.m.

The period from August 12, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

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IT Is so oRDERED this the ~> day of August, 2005.

QMM

JON PHIPPS MCCALLA
UN ED STATES DIS'I'RICT JUDGE

 

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Honorable J on McCalla
US DISTRICT COURT

